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              IN THE UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                   )
                                            )
         Plaintiff,                         )
                                            )
vs.                                         )   Case No. 09-CR-043-SPF
                                            )
LINDSEY KENT SPRINGER and                   )
OSCAR AMOS STILLEY,                         )
                                            )
         Defendants.                        )

                                        ORDER
                                    (re doc. no. 356)

         The court is in receipt of defendant Lindsey Kent Springer’s Motion for Leave
to Exceed Page Limit and to Omit Table of Contents, filed on April 30, 2010 (doc. no.
354), and the United States’ Response thereto, filed on May 3, 2010 (doc. no. 356).
Defendant Springer’s motion is GRANTED.
         Defendant Springer may file his amended motion for release and stay of
execution of judgment, up to 32 pages in length and without a table of contents.
         Dated May 3, 2010.




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